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Fill in this information to identify the case:

                   Fanchest, Inc.
Debtor Name __________________________________________________________________

                                                  Southern
United States Bankruptcy Court for the:_______________________              New York
                                                               District of __________
                                                                       (State)

               20-43932-jmm
Case number: _________________________


                                                                                                   x Check if this is an amended filing
                                                                                                   


Official Form 425A

Amended Plan of Reorganization for Small Business Under Chapter 11                                                                        02/20


Fanchest, Inc.'s Amended Plan of Reorganization Dated 2/23/2021


Background for Cases Filed Under Subchapter V


A. Description and History of the Debtor’s Business
   The Debtor is a corporation. Since 2014, the Debtor has been in the business of purchasing and reselling sports team-
   branded soft and hard consumer goods.

B. Liquidation Analysis
   To confirm the Plan, the Court must find that all creditors and equity interest holders who do not accept the Plan will
   receive at least as much under the Plan as such claim and equity interest holders would receive in a chapter 7 liquidation.
   A liquidation analysis is attached to the Plan as Exhibit 1.

C. Ability to make future plan payments and operate without further reorganization
   The Plan Proponent must also show that it will have enough cash over the life of the Plan to make the required Plan
   payments and operate the debtor’s business. The Plan Proponent has provided projected financial information as Exhibit
   2. The Plan Proponent’s financial projections show that the Debtor will have projected net income for the three year period
   following confirmation of $603,087.93. The Net Income will be reduced by whatever amount is needed to pay allowed
   Class 1 and Class 2 claims resulting in the Debtor's disposable income (as defined by § 1191(d) of the Bankruptcy Code)
   for the period described in § 1191(c)(2) (the "Disposable Income"). Payments of Administrative Claims, Priority Tax
   Claims, Class 1 and Class 2 Claims will be made on the later of the effective date of this Plan, or the date on which such
   claim is allowed by a final non-appealable order from the proceeds of a Stock Purchase Agreement, annexed hereto as
   Exhibit 3 (the "Agreement"). The size of the dividend to be paid to holders of allowed Class 4 Claims (the "Claim 4
   Dividend") will depend on the amount required to pay allowed Class 1 and Class 2 claims because this amount will reduce
   Net Income and, accordingly, Disposable Income. There are no Class 1 claims filed as of this date. The current "book
   value" of the Class 2 Claim of $315,819.96, however a proof of claim was filed February 22, 2021 which suggests this
   Class 2 claim could be as high as $642,000. The Debtor intends to object to this proof of claim as being unsupported by
   the Debtor's books and records or even by the documents annexed to this proof of claim. Using these amounts,
   $315,819.96 and $642,000, the Claim 4 Dividend contemplated by this Plan will be between $287,267.97 and $0.00,
   subject to the final resolution of the Class 2 Claim, but likely somewhere in between. The final Plan payment is expected to
   be made within five days of a resolution of that last claim for which the Debtor files an objection.




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Debtor Name
                           Fanchest, Inc.
                 _______________________________________________________                                        20-43932-jmm
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              Article 1: Summary

             This Plan of Reorganization (the Plan) under chapter 11 of the Bankruptcy Code (the Code) proposes to pay
             creditors of Fanchest, Inc. (the Debtor) from the Proceeds of the Agreement.


             This Plan provides for:                    1       classes of priority claims;
                                                        2       classes of secured claims;
                                                        1       classes of non-priority unsecured clams; and
                                                        1       classes of equity security holders.
             Non-priority unsecured creditors holding allowed claims will likely receive distributions, which the proponent
             of this Plan has valued at a high of approximately 14 cents on the dollar based on the aforementioned Claim
             4 Dividend. This Plan also provides for the payment of administrative and priority claims.
             All creditors and equity security holders should refer to Articles 3 through 6 of this Plan for information
             regarding the precise treatment of their claim. A disclosure statement that provides more detailed information
             regarding this Plan and the rights of creditors and equity security holders will not be circulated with this Plan.
             Your rights may be affected. You should read these papers carefully and discuss them with your
             attorney, if you have one. (If you do not have an attorney, you may wish to consult one.)

              Article 2: Classification of Claims and Interests


2.01   Class 1 ................................      All allowed claims entitled to priority under § 507(a) of the Code (except administrative
                                                     expense claims under § 507(a)(2), and priority tax claims under § 507(a)(8)).



2.02   Class 2 ...................................   The claim of Phoenix Growth Capital LLC to the extent allowed as a secured claim
                                                     under § 506 of the Code.

2.03   Class 3 ................................      The claim of Helix Digital Inc. to the extent allowed as a secured claim under
                                                      § 506 of the Code.

2.03   Class 4 ...................................   All non-priority unsecured claims allowed under § 502 of the Code.



2.04   Class 5 ...................................   Equity interests of the Debtor.



              Article 3: Treatment of Administrative Expense Claims, Priority Tax Claims, and Quarterly and Court Fees


3.01   Unclassified claims
                                                     Under section § 1123(a)(1), administrative expense claims, and priority tax claims
                                                     are not in classes.

3.02   Administrative expense
                                                     Each holder of an allowed administrative expense claim allowed under § 503 of the
       claims                                        Code, will be paid in full on the effective date of this Plan, in cash, or upon such other
                                                     terms as may be agreed upon by the holder of the claim and the Debtor.




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                                         Each holder of an allowed priority tax claim will be paid will receive on account of such
3.03   Priority tax claims
                                         claim regular installment payments in cash (i) of a total value, as of the effective date
                                         of the plan, equal to the allowed amount of such claim; (ii) over a period ending not
                                         later than 5 years after the date of the order for relief under section 301, 302, or 303;
                                         and (iii) in a manner not less favorable than the most favored nonpriority unsecured
                                         claim provided for by the plan.


3.04   Statutory fees
                                         All fees required to be paid under 28 U.S.C. § 1930 that are owed on or before the
                                         effective date of this Plan have been paid or will be paid on the effective date.

3.05   Prospective quarterly fees
                                         All quarterly fees required to be paid under 28 U.S.C. § 1930(a)(6) or (a)(7) will accrue
                                         and be timely paid until the case is closed, dismissed, or converted to another chapter
                                         of the Code.
              Article 4: Treatment of Claims and Interests Under the Plan

4.01   Claims and interests shall be treated as follows under this Plan:

                                        Class                           Impairment      Treatment
                                        Class 1 - Priority claims                     Class 1 is unimpaired. Each holder of a Class 1 Priority Claim will
                                        excluding those in Article 3     Unimpaired   be paid in full, in cash, upon the later of the effective date of this
                                                                                      Plan, or the date on which such claim is allowed by a final non-
                                                                                      appealable order.
                                        Class 2 – Secured claim of                    Class 2 is unimpaired. Phoenix will be paid in full, in cash, upon the
                                        Phoenix Growth Capital           Unimpaired   later of the effective date of this Plan, or the date on which such
                                        LLC ("Phoenix")                               claim is allowed by a final non-appealable order.

                                                                                      Class 3 is impaired. Helix has agreed to subordinate its recovery to
                                        Class 3 – Secured claim of                    the recovery of Class 4, and will thereafter be paid to the extent of
                                                                         Impaired
                                        Helix Digital Inc. ("Helix")                  proceeds of sales of Current Inventory.
                                                                                      Class 4 is impaired. Members of Class 4 will receive a dividend
                                        Class 4 – Non-priority                        equal to a pari passu share of any amount remaining from the
                                        unsecured creditors               Impaired    Debtor's Disposable Income after payments are made to Classes 1
                                                                                      and 2.
                                        Class 5 - Equity security                     Class 5 is impaired. Holders of common stock equity interests in the
                                        holders of the Debtor            Impaired     Debtor will have their interests diluted upon conversion described in
                                                                                      Exhibit 3 by 80%. Preferred stock, options and/or warrants are
                                                                                      extinguished/cancelled by this Plan. A final Cap Table is annexed as
              Article 5: Allowance and Disallowance of Claims
                                                                                      Exhibit 4.

5.01   Disputed claim
                                        A disputed claim is a claim that has not been allowed or disallowed by a final
                                        non-appealable order, and as to which either:
                                        (i) a proof of claim has been filed or deemed filed, and the Debtor or another party in
                                            interest has filed an objection; or
                                        (ii) no proof of claim has been filed, and the Debtor has scheduled such claim as
                                             disputed, contingent, or unliquidated.
5.02   Delay of distribution on a       No distribution will be made on account of a disputed claim unless such claim is
       disputed claim                   allowed by a final non-appealable order.
5.03   Settlement of disputed           The Debtor will have the power and authority to settle and compromise a disputed
       claims                           claim with court approval and compliance with Rule 9019 of the Federal Rules of
                                        Bankruptcy Procedure.
              Article 6: Provisions for Executory Contracts and Unexpired Leases




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6.01   Assumed executory
       contracts and unexpired           (a) None.
       leases
                                         (b) Except for executory contracts and unexpired leases that have been assumed,
                                             and if applicable assigned, before the effective date or under section 6.01(a) of
                                             this Plan, or that are the subject of a pending motion to assume, and if
                                             applicable assign, the Debtor will be conclusively deemed to have rejected all
                                             executory contracts and unexpired leases as of the effective date.
                                              A proof of a claim arising from the rejection of an executory contract or
                                              unexpired lease under this section must be filed no later than 30 days after
                                              the date of the order confirming this Plan.


              Article 7: Means for Implementation of the Plan

The Debtor will fund the Plan using the proceeds of the Agreement annexed as Exhibit 4, subject to Bankruptcy
Court approval.



              Article 8: General Provisions

                                   The definitions and rules of construction set forth in §§ 101 and 102 of the Code shall apply
8.01   Definitions and rules
                                   when terms defined or construed in the Code are used in this Plan, and they are supplemented
       RIconstruction
                                   by the following definitions: "Current Inventory" includes the inventory in possession of the
                                   Debtor as of the date its Plan is confirmed. "Disposable Income" shall be calculated as
                                   set forth in § 1191 and, in this case, is set forth on Exhibit 2, hereto.

8.02   Effective date
                                   The effective date of this Plan is the first business day following the date that is 14 days after the
                                   entry of the confirmation order. If, however, a stay of the confirmation order is in effect on that
                                   date, the effective date will be the first business day after the date on which the stay expires or is
                                   otherwise terminated.



8.03   Severability
                                   If any provision in this Plan is determined to be unenforceable, the determination will in no way
                                   limit or affect the enforceability and operative effect of any other provision of this Plan.



8.04   Binding effect              The rights and obligations of any entity named or referred to in this Plan will be binding upon,
                                   and will inure to the benefit of the successors or assigns of such entity.



8.05   Captions
                                   The headings contained in this Plan are for convenience of reference only and do not affect the
                                   meaning or interpretation of this Plan.

8.06   Controlling effect          Unless a rule of law or procedure is supplied by federal law (including the Code or the Federal
                                   Rules of Bankruptcy Procedure), the laws of the State of New York govern this Plan and any
                                   agreements, documents, and instruments executed in connection with this Plan, except as
                                   otherwise provided in this Plan.


8.07   Corporate governance
                                   The Debtor shall continue to be governed in accordance with its Restated Certificate of
                                   Incorporation, as amended, annexed hereto as Exhibit 5.

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              Article 9: Discharge and Retention of Jurisdiction



 9.01   Discharge                 If the Debtor’s Plan is confirmed under § 1191(a), on the effective date of the Plan, the Debtor
                                  will be discharged from any debt that arose before confirmation of this Plan, to the extent
                                  specified in § 1141(d)(1)(A) of the Code, except that the Debtor will not be discharged of any
                                  debt:
                                               (i)       imposed by this Plan; or
                                               (ii)      to the extent provided in § 1141(d)(6).

                                  If the Debtor’s Plan is confirmed under § 1191(b), confirmation of this Plan does not discharge
                                  any debt provided for in this Plan until the court grants a discharge on completion of all
                                  payments due within the first 3 years of this Plan, or as otherwise provided in § 1192 of the
                                  Code. The Debtor will not be discharged from any debt:
                                               (i)     on which the last payment is due after the first 3 years of the plan, or as
                                               otherwise provided in § 1192; or
                                               (ii)    excepted from discharge under § 523(a) of the Code, except as provided
                                               in Rule 4007(c) of the Federal Rules of Bankruptcy Procedure.


 9.02   Retention of         From and after the Effective Date, the Bankruptcy Court shall retain and have exclusive jurisdiction
        Jurisdiction         over this Case for the following purposes:
                              (a) to determine any and all objections to the allowance of Claims;

                           (b) to determine any and all applications for the rejection, assumption, or assumption and
           assignment, as the case may be, of executory contracts of which the Debtor is a party or with respect to which the
           Debtor may be liable, and to hear and determine, and if need be to liquidate, any and all Claims arising therefrom;

                            (c) to determine any and all applications for the determination of any priority of any Claim including
           Claims arising from any event that occurred prior to the Petition Date or from the Petition Date through the Effective
           Date and for payment of any alleged Administrative Claim, Priority Tax Claim, Other Priority Claims, Secured Claim or
           Unsecured Claim;

                          (d) to determine any and all applications, motions, adversary proceedings and contested or litigated
           matters that may be pending on the Effective Date or filed thereafter;

                             (e) to determine all controversies, suits and disputes that may arise in connection with the
           interpretation, enforcement or consummation of this Plan or in connection with the obligations of the Debtor or the
           Reorganized Debtor under this Plan, and to enter such orders as may be necessary or appropriate to implement any
           distributions to holders of Allowed General Unsecured Claims;

                           (f) to consider any modification, remedy any defect or omission, or reconcile any inconsistency in this
           Plan or any order of the Bankruptcy Court, including the Confirmation Order, all to the extent authorized by the
           Bankruptcy Code;

                         (g) to issue such orders in aid of execution of this Plan to the extent authorized by section 1142 of the
           Bankruptcy Code;


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                           (h) to determine such other matters as may be set forth in the Confirmation Order or as may arise in
           connection with this Plan or the Confirmation Order;

                            (i) to hear and determine any claim or controversy of any nature arising from or in connection with
           any agreement made a part of this Plan; and to enter such orders as may be appropriate to enforce, modify, interpret
           or effectuate such agreements;

                            (j) to determine any suit or proceeding brought by the Debtor, the Trustee or the Reorganized Debtor,
           on behalf of the Debtor’s estate, to (a) recover property under section 542, 543 or 553 of the Bankruptcy Code or to
           avoid any transfer or obligation under section 522(f), 522(h), 544, 545, 547, 548, 549 or 724(a) of the Bankruptcy
           Code or (h) otherwise collect or recover on account of any claim or cause of action that the Debtor may have
           (provided that the Bankruptcy Court’s jurisdiction with respect to such matters shall be nonexclusive);

                           (k) to consider and act on the compromise and settlement of any Claim against or cause of action by
           or against the Debtor’s estate;

                               (l) to estimate Claims pursuant to section 502(c) of the Bankruptcy Code;

                            (m) to hear and determine any dispute or controversy relating to any Allowed Claim or any Claim
           alleged or asserted by any Person to be an Allowed Claim;

                         (n) to determine any and all applications for allowances of compensation and reimbursement of
           expenses and any other fees and expenses authorized to be paid or reimbursed under the Bankruptcy Code or this
           Plan;

                          (o) to administer and enforce the injunctions contained in this Plan, and any related injunction or
           decree contained in the Confirmation Order;

                         (p) to hear and determine any other matter related hereto and not inconsistent with Chapter 11 of the
           Bankruptcy Code; and

                               (q) to hear a motion and any issues related to issuing a final decree closing the Chapter 11 Case.




               Article 10: Other Provisions

10.01 Exemption from Transfer Taxes. Pursuant to Section 1146(c) of the Bankruptcy Code, the issuance, transfer or exchange of
notes or equity securities under the Plan, the creation of any mortgage, deed of trust or other security interest, the making or
assignment of any lease or sublease, or the making or delivery of any deed or other instrument of transfer under, in furtherance
of, or in connection with the Plan, shall not be subject to any stamp tax or other similar tax.

10.02 Re-vesting of Assets; No Further Supervision. Assets of the Debtor and all property of the Debtor’s estate shall be
preserved and re-vest in the Reorganized Debtor in each case free and clear of all Claims and Equity Interests, but subject to
the obligations of the Reorganized Debtor, as specifically set forth in this Plan. This Plan does not contain any restrictions or
prohibitions on the conduct of the business of the Reorganized Debtor. The Reorganized Debtor may use, operate and deal
with its assets, and may conduct and change its businesses, without any supervision by the Bankruptcy Court, the subchapter V
Trustee, or the Office of the United States Trustee, and free of any restrictions imposed on the Debtor by the Bankruptcy Code
or by the Bankruptcy Court during the Chapter 11 Case, except with respect to the payment obligations contemplated herein.

10.12 Reservation of Rights. If the Plan is not confirmed by the Bankruptcy Court or any other Court of competent jurisdiction for
any reason, the rights of all parties in interest in the Debtor’s are and shall be reserved in full. Any concession reflected or
provision contained herein, is made for the purposes of the Plan only, and if the Plan does not become effective, no party in
interest in the Debtor’s Chapter 11 case shall be bound or deemed prejudiced by any such concession.
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                         Fanchest, Inc.                                                                   20-43932-jmm
Debtor Name       _______________________________________________________                  Case number_________
                                                                                                          __________________

               Respectfully submitted,


                                                                   James Waltz, President and CEO
               _________________________________________________ ____________________________________________________

                     [Signature of the Plan Proponent]                           [Printed Name]

                       /s/ Michael T. Conway                                     Michael T. Conway
              
                  _________________________________________________ ____________________________________________________

                     [Signature of the Attorney for the Plan Proponent]          [Printed Name]




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